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                                                                            NO ORDER REQUIRED

                       IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE DISTRICT OF DELAWARE

In re:                                        )       Chapter 11
                                              )
W.R. GRACE & CO., et al.,                     )       Case No. 01-01139 (JKF)
                                              )       (Jointly Administered)
                                              )
                        Debtors.              )       Objection Deadline: December 13, 2005 at 4:00 p.m.


                            CERTIFICATION OF NO OBJECTION
                             REGARDING DOCKET NO. 10969

         The undersigned hereby certifies that, as of the date hereof, he has received no answer,

objection or other responsive pleading to the Seventeenth Monthly Fee Application of Conway,

Del Genio, Gries & Co., LLC (the “Applicant”) for Compensation for Services Rendered and

Reimbursement of Expenses as Financial Advisors to the Official Committee of Asbestos

Property Damage Claimants for the Period from April 1, 2005 through June 30, 2005 (“the

Application”). The undersigned further certifies that he has caused the Court’s docket in this

case to be reviewed and no answer, objection or other responsive pleading to the Application

appears thereon. Pursuant to the Application, objections to the Application were to be filed and

served no later than November 22, 2005 at 4:00 p.m.

         Pursuant to the Amended Administrative Order Under 11 U.S.C. §§105(a) and 331

Establishing Revised Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals and Official Committee Members (“the Order”) dated April 17, 2002, the Debtors

are authorized to pay the Applicant $120,000.00 which represents 80% of the fees

($150,000.00) and $11.59 which represents 100% of the expenses requested in the Notice of
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Application for the period April 1, 2005 through June 30, 2005, upon the filing of this

certification and without the need for entry of a Court order approving the Application.


Dated: November 23, 2005                             Scott L. Baena, Esquire
                                                     Jay M. Sakalo, Esquire
                                                     Allyn S. Danziesen, Esquire
                                                     BILZIN SUMBERG BAENA PRICE &
                                                      AXELROD, LLP
                                                     2500 Wachovia Financial Center
                                                     200 South Biscayne Boulevard
                                                     Miami, FL 33131-2336
                                                     (305) 374-7580

                                                     -and-

                                                     FERRY, JOSEPH & PEARCE, P.A.

                                                      /s/ Theodore J. Tacconelli
                                                     Michael B. Joseph (No. 392)
                                                     Theodore J. Tacconelli (No. 2678)
                                                     Lisa L. Coggins (No. 4234)
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                                                     Co-Counsel to the Official Committee of
                                                     Asbestos Property Damage Claimants




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